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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 MARY J. FREDERICK, et al.                  )
                                            )
                            Plaintiffs,     )
                                            )
                         v.                 )            No. 1:19-cv-01959-SEB-MJD
                                            )
 CONNIE LAWSON, in her official capacity as )
 Secretary of State of Indiana,             )
                                            )
                            Defendant.      )

                  PERMANENT INJUNCTION AND JUDGMENT


    The Court orders as follows:

    (1) Defendant Connie Lawson, in her official capacity as Indiana Secretary of State,

       and all Indiana election officials acting in concert with her are hereby

       PERMANENTLY ENJOINED from rejecting any mail-in absentee ballot on the

       basis of a signature mismatch absent adequate notice and cure procedures to the

       affected voter.

    (2) Defendant is HEREBY FURTHER ORDERED to inform forthwith all affected

       Indiana election officials of this injunction and to instruct such officials regarding

       the implementation of notice and cure procedures in time for the upcoming general

       election on November 3, 2020.

 IT IS ORDERED that judgment is entered in favor of Plaintiffs and against Defendant.



            8/20/2020                                  _______________________________
 Date: __________________
                                                        SARAH EVANS BARKER, JUDGE
                                              1         United States District Court
                                                        Southern District of Indiana
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